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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

ALFRED ADJAYE, et al.,                       §
                                             §
                  Plaintiffs                 §
                                             §
       v.                                        Case No. 1:14-cv-03127-MHC
                                             §
WALGREEN CO., d/b/a                          §
WALGREENS,                                   §
                                             §
                  Defendant.                 §
                                             §

                         STIPULATION OF DISMISSAL
      Having reached a settlement in the above-styled action, the Parties hereby

dismiss this action, each Plaintiff, and each Plaintiff’s claims with prejudice. Any

Plaintiff who has not signed and submitted the necessary settlement paperwork to

Defendant shall have sixty (60) days from the filing of this Stipulation to do so.

      Respectfully submitted this 26th day of June, 2015.


For Plaintiffs:                            For Defendant:

By s/ James E. Rollins, Jr.                By s/ Brett C. Bartlett
   James E. Rollins, Jr.                   Brett C. Bartlett
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